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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     (Northern Division)


    LYNNETTE JACKSON,

                  Plaintiff,
                                                                Civil Action No. RDB-21-00426
         v.

    SPRINT/UNITED MANAGEMENT
    COMPANY, et al.

                  Defendants.


       REPLY IN SUPPORT OF MOTION IN LIMINE TO EXCLUDE EVIDENCE
         REGARDING PLAINTIFF’S POTENTIAL FRONT AND BACK PAY
                    DAMAGES AND MEDICAL CONDITION

I.      INTRODUCTION

        Defendants Sprint/United Management Company and T-Mobile US, Inc. f/k/a Sprint

Corporation (“Sprint” or “Defendants”) have moved the Court to preclude Plaintiff Lynnette

Jackson from making any statements or arguments, or introducing evidence regarding: (1) the

equitable remedy of front pay to the jury; (2) potential earnings 1 related to hypothetical promotions

she would have received if she remained employed with Sprint at Store Number 153; and (3)

immaterial evidence concerning Plaintiff’s medical condition.

        Ms. Jackson concedes that evidence regarding front pay should not be presented to the jury.

Pl.’s Opp’n to Defendants’ Motion in limine 2, ECF No. 54. On the other hand, Ms. Jackson argues

that her back pay calculations should include promotions which she believes she would have

received had she remained employed with Sprint at Store Number 153. Not only has Ms. Jackson

failed to proffer evidence that corroborates her belief that she would have been promoted at Store


1
 Defendants refer to Plaintiff’s claimed lost wages under the Family Medical Leave Act (“FMLA”) and back pay
under the Americans with Disabilities Act (“ADA”) as “back pay.”
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Number 153 (or any other Sprint store), but she arbitrarily selected a timeline for receiving such

promotions that clearly demonstrates that her calculations of back pay are wholly speculative in

nature and should be excluded at trial.

       Ms. Jackson also contends that she should be permitted to testify in detail regarding her

medical condition so the Court can determine (1) whether her request for FMLA leave was a

reasonable accommodation under the ADA and (2) whether one of her supervisors, Jose Compean,

knew she had Multiple Sclerosis (“MS”). The first question asks the jury to determine whether a

request for FMLA leave is sufficient to demonstrate a request for reasonable accommodation under

the ADA. The Court however already decided that issue in its April 20, 2022 Memorandum

Opinion, ECF No. 40 at 25-26. That is the law of the case.

       In addition, evidence of the nature of Plaintiff’s MS, including her symptoms, would

encourage the jury to speculate about Mr. Compean’s knowledge of her MS. Ms. Jackson should

be precluded from testifying that Mr. Compean knew she had MS simply because she texted him

that she was having a nosebleed. Ms. Jackson has not proffered any evidence which makes it

probable that Mr. Compean made a connection between her nosebleeds and MS or any other

chronic health condition. Not only would Ms. Jackson’s testimony regarding her report of a

nosebleed lack probative value, but it would be unfairly prejudicial, mislead the jury, confuse the

issues, and waste time where there is no dispute regarding her MS diagnosis. Therefore, Ms.

Jackson must be barred entirely from making any argument or introducing evidence related to the

details of her MS.




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II.      LEGAL ARGUMENT 2

         A.       Plaintiff Should be Precluded from Introducing Speculative Evidence of Lost
                  Earnings

         As previously stated, the Court should preclude Plaintiff from introducing speculative

evidence, or argument or statements related to hypothetical promotions Ms. Jackson believes she

would have received if she had remained employed with Sprint at Store Number 153. Plaintiff

argues that the “back pay damages calculations Ms. Jackson will present at trial account for her

projected earnings had she been promoted” because she “reasonably expected to be promoted to

be a sales supervisor and/or assistant store manager at Sprint.” Pl.’s Opp’n 4. Ms. Jackson proffers

the testimony of one of Plaintiff’s supervisors, Crystal Cauthen, and Defendants’ 30(b)(6) witness

to support her contention that promotions and related lost earnings are not speculative. However,

Ms. Jackson mischaracterizes Ms. Cauthen’s testimony and fails to provide evidence to support

the conclusion: (1) that Plaintiff would have been promoted if she remained employed at Store

Number 153 and (2) the timeline for any such promotion. Therefore, the Court should preclude

Plaintiff from introducing any such speculative evidence, or argument or statements related to her

back pay.

         Other than Ms. Jackson’s self-serving testimony that she intended to build a career at

Sprint, Plaintiff’s only support for her claim, that she would have ever been promoted to become

a Sales Supervisor, is her text messages with Ms. Cauthen when Ms. Cauthen was the Store

Manager at Store Number 153 and District Manager in Kansas City, MO. However, Ms. Cauthen

merely made an offhanded comment in a text message in October 2018, four months prior to Ms.




2
 As stated above, Ms. Jackson conceded that she cannot make any reference, argument, statement or produce any
evidence relating to Plaintiff’s claimed front pay damages before the jury. Therefore, Defendants request that the
Court enter an order stating that all argument and evidence Plaintiff introduces related to front pay should be prohibited
before the jury.

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Jackson’s termination, that she wanted to get rid of the current Sales Supervisor and “force” Ms.

Jackson to take his position. See Pl.’s Opp’n Ex. 6. Ms. Jackson admittedly did not take this

seriously as her response to Ms. Cauthen indicated that she was laughing. Id. When asked about

this message, Ms. Cauthen could not even recall why she at one point may have thought that Ms.

Jackson was ready to be promoted to the Sales Supervisor position. See Pl.’s Opp’n Ex. 4 at 108:6-

8. Noticeably absent is any proffer that Sprint had promotion guidelines, lock step promotions,

Ms. Jackson met the minimum qualifications for the Sales Supervisor position or that Ms. Jackson

actually was offered a promotion prior to her termination, which would have guaranteed Plaintiff

a promotion to Sales Supervisor.

       Also, contrary to Plaintiff’s assertion, Ms. Cauthen testified that as Store Manager she was

not authorized to promote Plaintiff unilaterally to Sales Supervisor, only with the approval of Brian

Pierce, the District Manager. Id. at 113:6-16. Ms. Cauthen ultimately did not request approval to

promote Plaintiff to Sales Supervisor because she had to keep the incumbent. Id. at 112:20-113:5.

Therefore, Ms. Jackson cannot show that she would have eventually been promoted to the Sales

Supervisor position at Store Number 153 (and when) had she remained with Sprint, and any

speculative evidence or argument regarding such should be excluded.

       Likewise, Ms. Jackson intends to speciously argue that the Court should calculate her lost

earnings assuming that she would have been promoted to Assistant Store Manager for Store

Number 153. Yet, Plaintiff proffers no testimony of Ms. Cauthen or any supervisor to show that

Ms. Jackson was ever considered to be ready to be an Assistant Store Manager for Store Number

153; much less promotion guidelines or practices that would have guaranteed her a promotion to

Assistant Store Manager and the timeframe. Ms. Jackson merely points to a text message in

December 2018 with Ms. Cauthen after Ms. Cauthen moved to a different Sprint store in Kansas



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City where Ms. Cauthen asked Plaintiff if she would be willing to move to be a Sales Supervisor

or Assistant Store Manager in Kansas City. See Pl’s Opp. Ex. 4 at 111:12-112:19. Even though

Ms. Cauthen was recruiting at that time, there is no evidence that she ever actually offered Ms.

Jackson an Assistant Store Manager position. Also, Ms. Jackson has proffered no evidence to

connect Ms. Cauthen’s recruiting in Kansas City to promotion decisions at Store Number 153.

Thus, Ms. Jackson should be precluded from arguing at trial that she would have been promoted

to Assistant Store Manager if she had not been terminated.

       Moreover, Ms. Jackson contends that her lost earnings are not speculative because they are

based on Defendants’ 30(b)(6) witness’s deposition testimony regarding the compensation for

Sprint’s Sales Supervisors, Assistant Store Managers, and Store Managers at Store Number 153.

Although Defendants do not dispute the average compensation for these positions at Store Number

153, Ms. Jackson does not proffer any evidence that overcomes the presumption that she was an

at-will employee or of the promotion history of Sprint’s Sales Supervisors, Assistant Store

Managers, and Store Managers at Store Number 153. As the timeline for Ms. Jackson’s “projected

earnings” is wholly speculative, the compensation for Sprint’s Sales Supervisors, Assistant Store

Managers, and Store Managers at Store Number 153 likewise must be excluded.

       Prior to Plaintiff’s Opposition to Defendants’ Motion, Ms. Jackson put forth no testimony,

written discovery answers or other evidence that stated the value of what Plaintiff claims she could

have earned if she remained employed with Sprint and was hypothetically promoted from Retail

Sales Consultant. Ms. Jackson conceded this point in her Opposition and therefore supplemented

her Objections and Responses to Defendants’ Interrogatories one year after the August 19, 2021




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Discovery Deadline and less than a month before trial. 3 Accordingly, for this reason alone the

Court should exclude evidence regarding back pay.

        Regardless of whether Plaintiff’s lost earning calculation disclosures were untimely, they

remain speculative, and Ms. Jackson should be precluded from making such an argument at trial.

Under Federal Rule of Evidence 701, plaintiffs “may not testify as to any opinions or calculations

[they] may have regarding speculative future earnings.” Naumov v. McDaniel Coll., Inc., No. 15-

482, 2017 U.S. Dist. LEXIS 225122, at *4 (D. Md. Dec. 14, 2017). Citing Hylind v. Xerox Corp.

and Crump v. United States Dep’t of Navy, Plaintiff argues that she “is permitted to account for

any promotions she would have reasonably received but for Sprint’s discriminatory and retaliatory

conduct when calculating back pay.” Pl.’s Opp’n 3 (citing 31 F. Supp. 3d 729, 741-42 (D. Md.

2014), aff’d, 632 Fed. Appx. 114 (4th Cir. 2015); 205 F. Supp. 3d 730, 747 (E.D. Va. 2016)).

        Not only do neither of these cases reference promotions, but both only account for lost

earnings to include “reasonably expected salary increases.” Hylind, 31 F. Supp. 3d at 741-42

(emphasis added) (looking at the plaintiff’s last four years of salary increases to anticipate future

raises she would have received); Crump, 205 F. Supp. 3d at 747 (including the plaintiff’s annual

raise in the back pay wages calculation). In this case, Ms. Jackson has not put forth any evidence

of her anticipated salary increases as a Retail Sales Consultant. Rather, in her response to

Interrogatories, Ms. Jackson for the first time claims that she would have been promoted to

Assistant Store Manager by the arbitrary date of January 1, 2020. Not only does Ms. Jackson not

account for a time period as a Sales Supervisor, the level before Assistant Store Manager, in her

calculations or explain why she would have been promoted straight to Assistant Store Manager,


3
  As Defendants also stated in their initial brief, Plaintiff could have supplemented her responses to Defendants’
Interrogatories after Defendants’ 30(b)(6) testimony on the topic. Given that Plaintiff did not timely make this
disclosure, Ms. Jackson should not be permitted to testify to purported back pay calculations about which Defendants
were not notified until less than a month before trial.

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but she fails to provide the reasoning for why she randomly selected two years for the timeframe

it would have taken her to be promoted to Assistant Store Manager. Nowhere does Ms. Jackson

cite to any testimony         or admissible evidence regarding her estimated trajectory for such

promotions, thus such argument should be precluded. 4

        Although Ms. Jackson claims that the jury’s calculation of back pay will involve “only

simple mathematical calculations (addition, subtraction, multiplication, and division), without

need for an expert”, Pl.’s Opp’n 5 n.5, this claim lacks sufficient foundation and is unduly

speculative, especially given that Plaintiff has neither provided an expert to testify about

projections for her future earnings nor proffered testimony from witnesses competent to testify

about the promotion history of an at will Retail Sales Consultant at Store Number 153. Without

evidence to show that Ms. Jackson would have ultimately been promoted to Sales Supervisor and

Assistant Store Manager had she not been terminated in February 2019, Plaintiff’s subjective

impression of the earnings and benefits she might have received had she been promoted is not

based on any admissible evidence. Thus, the Court should prohibit Ms. Jackson from introducing

evidence, or argument or statements related to any back pay.

        B.       The Court Should Exclude Any Evidence of Plaintiff’s Medical Condition

        Defendants have asked the Court to prevent Ms. Jackson from making any reference,

argument or statement, or introducing any evidence relating to Plaintiff’s underlying medical

condition. Plaintiff’s only claims for relief remaining against Sprint are retaliation under the

FMLA and ADA. Plaintiff argues that for the jury to determine whether her request for FMLA

leave was a reasonable accommodation under the ADA, the jury needs to hear testimony

concerning “(1) the chronic, episodic nature of MS, (2) Ms. Jackson’s MS symptoms, and (3) how


4
 Given that Plaintiff barely was employed 12 months and was a non-supervisory employee, Ms. Jackson would not
have sufficient data based on personal observations to testify as to her anticipated trajectory with any certainty.

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occasional time off from work helped Ms. Jackson ‘ameliorate her symptoms during MS episodes’

and ‘prevent[ed] her symptoms from escalating.’” Pl.’s Opp’n 7. Based on the doctrine of the law

of the case, the jury does not need to decide whether a request for FMLA leave was a reasonable

accommodation under the ADA. The Court already has decided that issue in ruling on Defendants’

motion for summary judgment, and Defendants do not intend to re-litigate the issue before the

district court. 5 Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 815-16 (1988).

         Ms. Jackson has not shown the need to present testimony on the nature of MS or how time

off from work helped her with her symptoms when the parties do not dispute that: (1) Plaintiff

suffers from MS; (2) her MS qualified her for FMLA leave and (3) MS is a disability under the

ADA. Rather, any probative value regarding the details of Plaintiff’s MS is outweighed by the

danger of unfair prejudice, confusing the issues, misleading the jury, and wasting time.

         Ms. Jackson claims testimony regarding her MS symptoms is necessary to demonstrate

that one of Plaintiff’s supervisors, Jose Compean, knew she had MS. However, Plaintiff has failed

to show how testifying to her medical condition would allow the jury to make such an inference.

Defendants anticipate that Ms. Jackson will seek to introduce her text messages with Mr. Compean

regarding nosebleeds, but Plaintiff does not point to any evidence that Mr. Compean knew that

nosebleeds were related in any way to her MS. Again, the parties do not dispute that Plaintiff was

qualified for FMLA leave or that Mr. Compean knew she was approved for such leave. However,

Mr. Compean denies that he knew that Plaintiff had Multiple Sclerosis prior to her termination.
                                                                                                                       6
See ECF No. 37-1 (Def.’s Mot. for Summ. J.) Exhibit D, Compean Dep. 62:19-63:3.




5
  Defendants reserve the right to appeal this ruling or re-litigate this issue if there is a change in controlling legal
authority or other change in circumstance.
6
  Defendants’ response to Interrogatory No. 12 also does not support the inference that Mr. Compean was aware that
Ms. Jackson was diagnosed with MS. Mr. Compean simply knew that Plaintiff was approved for FMLA leave and
had a medical condition. Pl. Opp’n Ex. 8.

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Accordingly, there is little probative value to the jury hearing Ms. Jackson testify regarding the

symptoms of her MS and such testimony would be unfairly prejudicial, will confuse the issues,

will mislead the jury, and will certainly waste time given the undisputed facts. Therefore, Ms.

Jackson must be barred entirely from making any argument or introducing evidence related to the

details of her MS.

III.   CONCLUSION

       Based on the foregoing, Defendants respectfully ask the Court to grant their Motion and

preclude Plaintiff from making any statements or arguments, or introducing evidence regarding:

(1) front pay damages before the jury; (2) potential lost earnings related to hypothetical promotions

she would have received if she remained employed with Sprint; and (3) Plaintiff’s medical

condition.


Dated: September 30, 2022                         Respectfully submitted,

                                                   /s/ Joseph B. Greener
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on September 30, 2022, a copy of the foregoing was served with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to the

following:
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                                                    /s/ Joseph B. Greener
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